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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

PARAG AGRAWAL, NED SEGAL, Case No. 3:24-cv-01304-MMC
VIJAYA GADDE, and SEAN EDGETT,
DECLARATION OF SHEILA A.G.
ARMBRUST IN SUPPORT OF
Plaintiffs, PLAINTIFFS’ MOTION TO OPEN
DISCOVERY

vs.
Hearing Date: November 15, 2024
ELON MUSK; X CORP., f/k/a TWITTER, INC.; | Time: 9:00 AM

TWITTER, INC. CHANGE OF CONTROL Location: Courtroom 7, 19th Floor
AND INVOLUNTARY TERMINATION Judge: Hon. Maxine M. Chesney
PROTECTION POLICY; TWITTER, INC.
CHANGE OF CONTROL SEVERANCE AND
INVOLUNTARY TERMINATION
PROTECTION POLICY; LINDSAY
CHAPMAN; BRIAN BJELDE; AND

DHRUV BATURA,

Defendants.

DECLARATION OF SHEILA A.G. ARMBRUST IN SUPPORT OF PLAINTIFFS’ MOTION TO OPEN DISCOVERY

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I, Sheila A.G. Armbrust, declare as follows:

1. J am a partner at the law firm Sidley Austin LLP and counsel for Plaintiffs in this
matter. I am licensed to practice law in the State of California and admitted to practice before this
Court.

2. The facts stated in this declaration are true and correct based upon my own personal

knowledge and, if called as a witness to testify, I could and would competently testify thereto.

3. I respectfully submit this declaration in support of Plaintiffs’ Motion to Open
Discovery.
4, From September 23, 2024 onward, counsel for Plaintiffs and counsel for Defendants

exchanged emails regarding Plaintiffs’ intention to file a motion seeking to proceed with discovery.
Attached as Exhibit A to this declaration is a true and correct copy of all email correspondence
between counsel for Plaintiffs and counsel for Defendants regarding Plaintiffs’ motion, beginning on
September 23, 2024.

5. On October 3, 2024, counsel for Defendants stated that Defendants oppose the relief
requested in Plaintiffs’ motion.

6. Attached as Exhibit B to this declaration is a true and correct copy of the article
“Inside the shifting plan at Elon Musk’s X to build a new team and police a platform ‘so toxic it’s
almost unrecognizable” by Kylie Robison, published by Yahoo! Finance on February 6, 2024. This
article is available at https://finance.yahoo.com/news/inside-shifting-plan-elon-musk-
230907908.html.

7. Attached as Exhibit C to this declaration is a true and correct copy of the article
“Elon Musk’s X Is Now Worth Around A Fifth Of The $44 Billion He Paid For It, Fidelity Says” by
Ty Roush, published by Forbes on September 30, 2024. This article is available at
https://www.forbes.com/sites/tylerroush/2024/09/30/elon-musks-x-is-now-worth-around-a-fifth-of-

the-44-billion-he-paid-for-it-fidelity-says/.

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DECLARATION OF SHEILA A.G. ARMBRUST IN SUPPORT OF PLAINTIFFS’ MOTION TO OPEN DISCOVERY
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I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed this 10th day of October, 2024, in San Francisco, California.

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Sheila A.G. Armbrust

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DECLARATION OF SHEILA A.G. ARMBRUST IN SUPPORT OF PLAINTIFFS’ MOTION TO OPEN DISCOVERY
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